                          UNITED STATES DISTRICT COURT
                   OF THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:22-cv-00050-M

 MADISON CAWTHORN, an individual,

                              Plaintiff,

        v.

 MR. DAMON CIRCOSTA, in his official
 capacity as Chair of the North Carolina State
 Board of Elections, MS. STELLA
 ANDERSON, in her official capacity as a
 member of the North Carolina State Board of             NOTICE OF APPEAL
 Elections, MR. JEFF CARMON, in his                  OF PROPOSED DEFENDANT-
 official capacity as a member of the North                INTERVENORS
 Carolina State Board of Elections, MR.
 STACY EGGERS IV, in his official capacity
 as a member of the North Carolina State
 Board of Elections, MR. TOMMY TUCKER,
 in his official capacity as a member of the
 North Carolina State Board of Elections, MS.
 KAREN BRINSON BELL, in her official
 capacity as the Executive Director of the
 North Carolina State Board of Elections,

                              Defendants, and

BARBARA LYNN AMALFI, LAUREL
ASHTON, NATALIE BARNES, CLAUDE
BOISSON, MARY DEGREE, CAROL ANN
HOARD, JUNE HOBBS, MARIE
JACKSON, MICHAEL JACKSON, ANNE
ROBINSON, DAVID ROBINSON, CAROL
ROSE, and JAMES J. WALSH,

             Proposed Defendant-Intervenors.


       Notice is hereby given that Proposed Defendant-Intervenors Barbara Lynn Amalfi, Laurel

Ashton, Natalie Barnes, Claude Boisson, Mary Degree, Carol Ann Hoard, June Hobbs, Marie

Jackson, Michael Jackson, Anne Robinson, David Robinson, Carol Rose, and James J. Walsh



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hereby appeal to the United States Court of Appeals for the Fourth Circuit from the (1) Order

Denying the Motion to Intervene (Dkt. No. 56), entered in this action on February 21, 2022, and

(2) the Order granting Plaintiff’s Motion for Preliminary Injunction (Dkt. No. 74), entered in this

action on March 4, 2022.

       This the 9th day of March, 2022.

                                                     Respectfully submitted,

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